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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 HANS TIEFENTHALER, on behalf of                      :
 himself and others similarly situated,               :   CIVIL ACTION FILE NO.
                                                      :
        Plaintiff,                                    :
                                                      :
 v.                                                   :   COMPLAINT – CLASS ACTION
                                                      :
 GROWING IN HEALTH, LLC                               :
                                                      :   JURY TRIAL DEMANDED
        Defendant.                                    :
                                                      :
                                                  /

       Plaintiff Hans Tiefenthaler (hereinafter referred to as “Plaintiff”), individually and on

behalf of all others similarly situated, alleges on personal knowledge, investigation of his

counsel, and on information and belief, as follows:


                                     NATURE OF ACTION

       1.       “If robocalls were a disease, they would be an epidemic.” Rage Against

Robocalls, Consumer Reports (July 28, 2015, 6:00 AM),

ttps://www.consumerreports.org/cro/magazine/ 2015/07/rage-against-robocalls/index.htm.

“Robocalls” are the number one consumer complaint in America today.

       2.       Even as far back as 2012, the Pew Research Center reported 69 percent of

cellular users who use text messaging receive unwanted text message spam, with 25 percent of

them receiving it on a weekly basis. Jan Lauren Boyles and Lee Rainie, Mobile Phone

Problems, Pew Research Center (Aug. 2, 2012), http://www.pewinternet.org/2012/08/02/mobile-

phone-problems.
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       3.       Robocalls, including automated calls have only increased since the 2012 study.

“Robocalls and telemarketing calls are currently the number one source of consumer complaints

at the FCC.” Tom Wheeler, Cutting off Robocalls (July 22, 2016), https://www.fcc.gov/news-

events/blog/2016/07/22/cutting-robocalls (statement of FCC Chairman).

       4.       According to a respected robocall watch site, robocalls have increased by a

whopping 494% in a four-year span: from 8.9 billion in the last three quarters of 2015 to 43

billion in the same nine months of 2019. See YouMail Robocall Index, Historical Robocalls by

Time, available at https://robocallindex.com/history/time/ (accessed April 20, 2020).

       5.       Of the 58.5 billion robocalls made in 2019, YouMail reports that over half of

these calls—56%—were scam calls, spoofed calls, or telemarketing calls. Id.

       6.       This case involves a campaign by Growing In Health, LLC (“Growing in Health”)

to market its services through the use of automated telemarketing calls in plain violation of the

Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (hereinafter referred to as the

“TCPA”).

       7.       Moreover, Growing in Health sent multiple calls to residential telephone numbers

that are registered on the National Do Not Call List (hereafter “NDNC”), which is a separate and

additional violation of the TCPA. The recipients of Growing in Health’s illegal calls, which

include Plaintiff and the proposed classes, are entitled to damages under the TCPA.

                                            PARTIES

       8.       Plaintiff Hans Tiefenthaler is, and at all times mentioned herein was, an individual

citizen of the Commonwealth of Massachusetts.




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         9.       Defendant Growing in Health, LLC is a domestic limited liability company with a

 principal place of business of 319A Union St., New Bedford, MA 02740.

         10.      Growing in Health makes telemarketing calls and solicits sales into this District,

 as it did with the Plaintiff.

         11.      Growing in Health is also registered to do business in this District and has a

 registered agent of Jeffrey Pepi, 170 Elm St., New Bedford, MA 02740.

                                   JURISDICTION AND VENUE

       12.        The Court has subject matter jurisdiction pursuant to the Class Action Fairness

Act of 2005 (“hereinafter referred to as CAFA”) codified as 28 U.S.C. 1332(d)(2). The matter in

controversy exceeds $5,000,000, in the aggregate, exclusive of interest and costs, as each member

of the proposed Class of thousands is entitled to up to $1,500.00 in statutory damages for each call

that has violated the TCPA. Further, Plaintiff alleges a national class, which will result in at least

one Class member from a different state.

       13.        This Court also has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and

47 U.S.C. § 227 et seq.

       14.        This Court has personal specific jurisdiction over Growing in Health because the

company sent and created the automated calls at issue into this District.

       15.        This Court also has jurisdiction over Growing in Health because it is registered to

do business in this District and is incorporated in Massachusetts.

       16.        Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because Plaintiff Tiefenthaler

is a resident of this District, which is where he received the illegal telemarketing calls that are the

subject of this putative class action lawsuit.


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                                    TCPA BACKGROUND

Calls Made Using an “Automated Telephone Dialing System”

       17.       The TCPA regulates, among other things, the use of a pre-recorded message or an

automated telephone dialing system (“ATDS”) to make calls or send automated calls. See 47

U.S.C. § 227, et seq.; In re Rules and Regulations Implementing the Telephone Consumer

Protection Act of 1991, Report and Order, 18 FCC Rcd. 14014, 14115 ¶ 165 (2003).

       18.       Specifically, the TCPA prohibits the use of an automated telephone dialing

system to make any telemarketing call or send any telemarketing text message to a wireless

number in the absence of an emergency or the prior express written consent of the called party.

See 47 U.S.C. § 227(b)(1)(A)(iii); 47 C.F.R. § 64.1200(a)(2); In the Matter of Rules &

Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C. Rcd. 1830, 1831

(F.C.C. 2012).

       19.       The TCPA defines an “automatic telephone dialing system” as “equipment which

has the capacity—(A) to store or produce telephone numbers to be called, using a random or

sequential number generator; and (B) to dial such numbers.” § 227(a)(1)(A)-(B). The first

component of this definition is satisfied when a dialing system has the capacity to call “a given

set of numbers” or when “dialing equipment is paired with . . . a database of numbers.” In re

Rules & Regulations Implementing the Telephone Consumer Protection Act of 1991, 18 FCC

Rcd. 14,014, ¶ 133 (2003); see In the Matter of Rules & Regulations Implementing the Tel.

Consumer Prot. Act of 1991, 23 F.C.C. Rcd. 559, 566 (F.C.C. 2008) (rejecting argument that a

dialing system “meets the definition of autodialer only when it randomly or sequentially

generates telephone numbers, not when it dials numbers from customer telephone lists” and


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reasoning that “the teleservices industry had progressed to the point where dialing lists of

numbers was far more cost effective”); Marks v. Crunch San Diego, LLC, 904 F.3d 1041, 1051

(9th Cir. 2018) (holding that “equipment that made automatic calls from lists of recipients was . .

. covered by the TCPA”).

       20.     “[T]elemarketing means the initiation of a telephone call or message for the

purpose of encouraging the purchase or rental of, or investment in, property, goods, or services,

which is transmitted to any person.” 47 C.F.R. § 64.1200(f)(12).

       21.     “[P]rior express written consent means an agreement, in writing, bearing the

signature of the person called that clearly authorizes the seller to deliver or cause to be delivered

to the person called advertisements or telemarketing messages using an automatic telephone

dialing system or an artificial or prerecorded voice, and the telephone number to which the

signatory authorizes such advertisements or telemarketing messages to be delivered.” 47 C.F.R.

§ 64.1200(f)(8).

The National Do Not Call Registry

       22.      Second, § 227(c) of the TCPA requires the FCC to “initiate a rulemaking

proceeding concerning the need to protect residential telephone subscribers’ privacy rights to

avoid receiving telephone solicitations to which they object.” 47 U.S.C. § 227(c)(1).

       23.      The relevant regulation under § 227(c) established company-specific “do not

call” rules. In the Matter of Rules and Regulations Implementing the Telephone Consumer

Protection Act of 1991, 7 FCC Rcd. 8752 (Oct. 16, 1992) (“TCPA Implementation Order”).




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       24.     The National Do Not Call Registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

       25.     A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.”

Id.

       26.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry and provides a private right of

action against any entity that makes those calls, or “on whose behalf” such calls are promoted.

47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

                                  FACTUAL ALLEGATIONS

       27.     Defendant Growing in Health is a “person” as the term is defined by 47 U.S.C.

§ 153(39).

       28.     Plaintiff Tiefenthaler’s telephone number, XXX-XXX-0111, is registered to a

cellular telephone service.

       29.     The Plaintiff Tiefenthaler received at least two telemarketing text messages from

the Defendant, including on April 8 and 20, 2020.

       30.     The texts were generic and computer-generated with the content below:




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       31.    The text messages were sent using an automated dialing system.

       32.    This is evident because of the non-personalized generic nature of the text message

advertisements.

       33.    The text messages also allow for an automated “STOP” response. This response,

which required a cap-specific response is so that an automated system can process the request.

       34.    As a result, the system that sent automated calls to Plaintiff Tiefenthaler qualifies

as an ATDS pursuant to 47 U.S.C. 227(a)(1)(A).

       35.    The plain text of the text message received by Plaintiff demonstrates that the

message was sent for the purpose of encouraging the purchase or rental of, or investment in,


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property, goods, or services as it seeks to have him sign up for Target’s loyalty program, which

is a service. This message therefore qualified as telemarketing. 47 C.F.R. § 64.1200(f)(12).

        36.     Moreover, for more than 31 days prior to the first call, the Plaintiff Tiefenthaler’s

telephone number has been listed on the NDNC list.

        37.     Plaintiff Tiefenthaler did not provide his prior express written consent to receive

the telemarketing calls at issue.

        38.     The calls were not necessitated by an emergency.

        39.     Plaintiff and all members of the Class, defined below, have been harmed by the

acts of Defendant because their privacy has been violated, they were annoyed and harassed, and,

in some instances, they were charged for incoming calls. Plaintiff and the Class Members were

also harmed by use of their cell phone battery and the intrusion on their cellular telephone that

occupied it from receiving legitimate communications.

                               CLASS ACTION ALLEGATIONS

        40.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if

fully stated herein.

        41.     Plaintiff brings this action on behalf of herself and the following classes (the

“Classes”) pursuant to Federal Rule of Civil Procedure 23.

        42.     Plaintiff proposes the following Class definitions, subject to amendment as

appropriate:

        Robodialing Class: All persons in the United States who, within four years prior
        to the commencement of this litigation until the class is certified, received one or
        more autodialed calls on their cellular telephone from or on behalf of Growing in
        Health, sent via the same, or substantially similar, system used to contact the
        Plaintiff.


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       National Do Not Call Registry Class: All persons in the United States whose
       telephone numbers were on the National Do Not Call Registry, but who received
       more than one telephone solicitation telemarketing call from or on behalf of
       Growing in Health with a 12-month period, from four years prior the filing of the
       Complaint.

       43.     Plaintiff Tiefenthaler is a member of and will fairly and adequately represent and

protect the interests of, these Classes as he has no interests that conflict with any of the class

members.

       44.     Excluded from the Classes are counsel, the Defendant, and any entities in which

the Defendant has a controlling interest, the Defendant’s agents and employees, any judge to

whom this action is assigned, and any member of such judge’s staff and immediate family.

       45.     Plaintiff and all members of the Classes have been harmed by the acts of the

Defendant, including, but not limited to, the invasion of their privacy, annoyance, waste of time,

the use of their cell phone battery, and the intrusion on their cellular telephone that occupied it

from receiving legitimate communications.

       46.     This Class Action Complaint seeks injunctive relief and money damages.

       47.     The Classes as defined above are identifiable through the Defendant’s dialer

records, other phone records, and phone number databases.

       48.     Plaintiff does not know the exact number of members in the Classes, but Plaintiff

reasonably believes Class members number, at minimum, in the hundreds in each class.

       49.     The joinder of all Class members is impracticable due to the size and relatively

modest value of each individual claim.

       50.     Additionally, the disposition of the claims in a class action will provide substantial

benefit to the parties and the Court in avoiding a multiplicity of identical suits.


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       51.     There are well defined, nearly identical, questions of law and fact affecting all

parties. The questions of law and fact, referred to above, involving the class claims predominate

over questions which may affect individual Class members.

       52.     There are numerous questions of law and fact common to Plaintiff and to the

proposed Classes, including but not limited to the following:

               (a) whether Defendant utilized an automatic telephone dialing system to send its
                   to the members of the Robocall Class;

               (b) Whether agents operating on behalf of Defendant utilized an automatic
                   telephone dialing system in sending automated calls to members of the
                   Robocall Class;

               (c) whether Defendant systematically made multiple telephone calls to members
                   of the National Do Not Call Registry Class;

               (d) whether Defendant made calls to Plaintiff and members of the Classes without
                   first obtaining prior express written consent to make the calls;

               (e) whether Defendant’s conduct constitutes a violation of the TCPA; and

               (f) whether members of the Classes are entitled to treble damages based on the
                   willfulness of Defendant’s conduct.

       53.     Further, Plaintiff will fairly and adequately represent and protect the interests of

the Classes. Plaintiff has no interests which are antagonistic to any member of the Classes.

       54.     Plaintiff has retained counsel with substantial experience in prosecuting complex

litigation and class actions, and especially TCPA class actions. Plaintiff and his counsel are

committed to vigorously prosecuting this action on behalf of the other members of the Classes,

and have the financial resources to do so.

       55.     Common questions of law and fact predominate over questions affecting only

individual class members, and a class action is the superior method for fair and efficient


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adjudication of the controversy. The only individual question concerns identification of class

members, which will be ascertainable from records maintained by Defendant and/or its agents.

          56.   The likelihood that individual members of the Classes will prosecute separate

actions is remote due to the time and expense necessary to prosecute an individual case.

          57.   Plaintiff is not aware of any litigation concerning this controversy already

commenced by others who meet the criteria for class membership described above.



                                 FIRST CAUSE OF ACTION
                Statutory Violations of the Telephone Consumer Protection Act
                     (47 U.S.C. 227, et seq.) on behalf of the Robocall Class

          58.   Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.

          59.   Growing in Health violated the TCPA by sending, or causing to be sent via an

agent, automated calls to the cellular telephones of Plaintiff and members of the Robocall Class

using an automated dialer without their prior express written consent.

          60.   As a result of the Defendant’s violations of 47 U.S.C. § 227 et seq., Plaintiff and

Robocall Class members are entitled to an award of $500 in statutory damages for each and

every violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

          61.   The Plaintiff and Robocall Class Members are entitled to an award of treble

damages if their actions are found to have been knowing or willful.

          62.   Plaintiff and Robocall Class members are also entitled to and do seek injunctive

relief prohibiting the Defendant from advertising their goods or services, except for emergency

purposes, using an ATDS or pre-recorded voice in the future.


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                                 SECOND CAUSE OF ACTION
                       Violation of the Telephone Consumer Protection Act
                                       (47 U.S.C. 227, et seq.)
                       on behalf of the National Do Not Call Registry Class

          63.    Plaintiff incorporates by reference the foregoing allegations as if fully set forth

herein.

          64.    Growing in Health violated the TCPA and the Regulations by making, or having

its agent make, two or more telemarketing automated calls within a 12-month period on Growing

in Health’s behalf to Plaintiff and the members of the National Do Not Call Registry Class while

those persons’ phone numbers were registered on the National Do Not Call Registry.

          65.    As a result of the Defendant’s violations of 47 U.S.C. § 227 et seq., Plaintiff and

National Do Not Call Registry Class members are entitled to an award of up to $500 in statutory

damages for each and every violation of the statute, pursuant to 47 U.S.C. § 227(b)(3)(B).

          66.    Plaintiff and National Do Not Call Registry Class members are also entitled to

and do seek injunctive relief prohibiting the Defendant from advertising their goods or services,

except for emergency purposes, to any number on the National Do Not Call Registry in the

future.

          67.    The Defendant’s violations were knowing or willful.

                                      PRAYER FOR RELIEF

          WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

          A.     Injunctive relief prohibiting Defendant from calling telephone numbers

advertising their goods or services, except for emergency purposes, to any number on the

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National Do Not Call Registry or to any cellular telephone numbers using a prerecorded voice in

the future;

       B.      As a result of the Defendant’s violations of 47 U.S.C. § 227(b)(1), Plaintiff seeks

for herself and each Robocall Class member up to treble damages, as provided by statute, of

$1,500 for each and every violation of the TCPA;

       C.      As a result of the Defendant’s willful and/or knowing violations of 47 C.F.R. §

64.1200(d), Plaintiff seeks for herself and each member of the National Do Not Call Registry

Class up to treble damages, as provided by statute, of up to $1,500 for each and every violation

of the TCPA;

       D.      An order certifying this action to be a proper class action pursuant to Federal Rule

of Civil Procedure 23, establishing an appropriate Classes the Court deems appropriate, finding

that Plaintiff is a proper representative of the Class, and appointing the lawyers and law firms

representing Plaintiff as counsel for the Class;

       E.      Such other relief as the Court deems just and proper.


                                       JURY DEMAND

       Plaintiff requests a jury trial as to all claims of the complaint so triable.




Dated: April 21, 20                    PLAINTIFF, on behalf of himself
                                       and others similarly situated,


                                       /s/ Anthony Paronich
                                       Anthony Paronich
                                       Email: anthony@paronichlaw.com
                                       PARONICH LAW, P.C.

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